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 8                          UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11   IN RE: PACKAGED SEAFOOD                        Case No.: 15-MD-2670 JLS (MDD)
12   PRODUCTS ANTITRUST LITIGATION
                                                    ORDER VACATING HEARING
13                                                  (ECF Nos. 1365, 1371)
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17         Presently before the Court is the United States’ Motion for Stay of Discovery, (ECF
18   No. 1365), and Defendant Christopher Lischewski’s Motion to Stay Discovery and for
19   Protective Order, (ECF No. 1371).      The Court HEREBY VACATES the hearing
20   scheduled for October 18, 2018, and takes the matter under submission without oral
21   argument pursuant to Civil Local Rule 7.1(d)(1).
22         IT IS SO ORDERED.
23   Dated: October 10, 2018
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                                                                            15-MD-2670 JLS (MDD)
